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AO 91(Rev,08/09) CriminalCompl
                             aint

                                U NITED STATESD ISTRICT C OURT
                                                      forthe
                                           Southern DistrictofFlorida

               United StatesofAmerica
                           V.
                  AVON EDW ARDS                                Case No. 17-6438-5N0W




                                           CRIM INAL COM PLAINT

        1,the com plainantin thiscase,statethatthe following istrueto the bestofmy knowledgeand belief.
Onoraboutthedatets)of               December4,2017         inthecountyof                         Broward       inthe
   Southern    Districtof             Florida      ,thedefendantts)violated:
           CodeSection                                              OffenseDescri
                                                                                ption
Title 31,United States Code,           The defendant,AVON EDW ARDS,did knowingly and willfully failto filean
Secti on 5316                          accurate repod as prescribed bythe Secretary ofthe Treasuryto be filed,
                                       thatis,a FINCEN Form 105(Repod ofIiternationalTransportati
                                                                                                onof
                                       CurrencyorMonetaryInstruments),whenthedefendanttranspoded,and
                                       was aboutto transpod,monetary instrumentsofmore than $10,000 in United
                                       Statescurrency atone time,thatis,approximatel
                                                                                   y $32,315 in Untied STates
                                       currency,to a place in the Uni
                                                                    ted States from and througha place outside the
                                       United States

        Thiscriminalcomplaintisbased on these facts:
        SEE ATTACHED AFFIDAVIT.




        W Continuedontheattachedsheet.
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                                                                                         omplln nt'
                                                                                                  ssignature
                                                                          z*
                                                                    /.''
                                                                    6
                                                                    .*' Jac ue Philippe,SpecialAnent,HSI
                                                                                        Printednameand title

Sworn to beforem eand signed in my presence.
                                                           '
                                                                *     f
        73L       -
oate:            .
                 -b     l -)                                                                               #
                                                                                         Judge'
                                                                                              ssignature

Chy and state:               Ft.Lauderdale,Flori
                                               da                   Lurana S.Snow,United States Magistrate Judqe
                                                                                       Printed nameand title
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                                        A FFID A VIT

       1,Jacque Philippe,being duly sw orn,depose and state asfollow s:

               1 am a Special Agent ofthe United States Departm entof Hom eland Security,

 Homeland Security lnvestigations(HS1)andhavebeen soemployedforoverseven years.1am
 currently assigned to the Ft.LauderdaleA irportTransportation Ctmspiracy Unit, Ft.Lauderdale,

 Florida. A sa SpecialAgentwith HSI,my dutiesand responsibilities include enforcing criminal

 and administrativeimm igration lawsoftheUnited States.

               The statements contained in this aftidavit are based upon m y own personal

 knowledge,as well as infonnation provided to me by other 1aw enforcem ent officers and

 employees of Immigration and Customs Enforcement (1CE). 1 have not included in this
 Affidavit each and every fact and circum stance known to me, but only the facts and

 circumstances that1 believe are sufficientto establish probable cause in supportofa crim inal

 com plaint.
               On Decem ber4,2017,atapproxim ately 5:56 p.m .,AVON EDW ARD S arrived at

 Ft.Lauderdale/Hollywood lnternationalon board SpiritAirlinestlightnum ber270. EDW ARDS

 wastraveling with a female com panion,kiC.G.-D.'' EDW ARDS isa lawfulpermanentresident

 andproceeded to the im migration line forperm anentresidents. C.G.-D wasentering the United

 StatesasaB 1/B2 visitorand wentto theimm igration lineforvisitors.

               C.G.-D. was referred to secondary inspection for further examination. ln

 secondary,she wasasked ifshewascarrying over$10,000 in cash. She completed theFINCEN
 Form 105 and statedthatshewascarrying over$10,000 in United Statescurrency. CBP officers
 conducted a search ofherluggage and found United States currency in two separate envelopes

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 totaling $14,430. C.G.-D. stated that her friend, AVON EDW ARDS,gave her $10,000 to
 transportforhim . She statedthatEDW ARDS wasalso on thetlightwith her.

              CustomsandBorderProtection (CBP)agents then wentto look forEDW ARDS
 and found him outside of the airport. CBP escorted EDW ARDS to a private search area and

 discovered EDW ARDS had a total of $22,315 in United States currency on his person.
 EDW ARDS stated to CBP Officers thathe was used to answering iûno''to allthe questionson

 the CBP fonn,including are you carrying more than $10,000 in United States currency. He
 could notexplain where them oney came from . CBP Officersthen contacted HSI.

              HS1 Special AgentJ.Philippe and BSO Detective R.Rivera responded to Ft.

 Lauderdale InternationalAim ol't. SpecialAgentJ.Philippe advised EDW ARDS ofhis M iranda

 rights and EDW ARD waived his rights verbally alzd in writing.EDW ARDS stated he asked

 C.G.-D to transport$10,000 for him because the m oney would be too bulky to carry in his
 pockets. EDW ARDS stated C.G.-D .wassupposed to givehim back them oney once shem ade it

 pastCBP. ED W ARD S stated he is fam iliar with the reporting requirem ents and he did not

 declare the m oney. EDW ARD S stated he did not declare the money because he would be

 stopped and asked m any questions. EDW ARDS stated he knew he was breaking the law.

 EDW ARDS stated he wasgoing to depositthem oney into hisBank ofAm ericabank accountas

 splitdepositsso itdid notraise any questions.EDW ARDS stated thiswasthe firsttime he has

 entered in theUnited Stateswith over$10,000. EDW ARDS also gavea written statementwhere

 headm itted to knowingly failing to declareover$10,000 in currency.




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        W HEREFORE,based on the foregoing,yourAffiantsubmitsthatthere isprobablecause

 to believe thaton or aboutD ecem ber4,2017,A V ON ED W ARD S,did know ingly and w illfully

 failto file an accurate repol'tas prescribed by the Secretary of the Treasury to be filed,thatis,a

 FINCEN Form 105 (Report of International Transportation of Currency or M onetary
 Instruments),when thedefendanttransported,and wasabouttotransporqmonetary instruments
 of more than ten thousand dollars ($10,000) atone time,thatis,approximately thirty-two
 thousandtltreehundred and fifteen dollars($32,315)inUnited Statescurrency,toaplaceinthe
 United Statesfrom and through aplace outsidethe United States,in violation ofTitle 31,United

 States Code,Section 5316.

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                                      / Hom
                                         peci lAgent
                                            eland Security Investigations



 Swom t and subscribed before me
 this     day ofDecem ber,2017.




    M N A S.SN O W
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